         Case 6:22-cr-10012-EFM Document 1 Filed 03/22/22 Page 1 of 4




                  UNITED STATES DISTRICT COURT
                                 District of Kansas
                                   (Wichita Docket)

UNITED STATES OF AMERICA,

                           Plaintiff,           Filed Under Seal

             v.                                 CASE NO. 6:22-cr-10012-EFM

RYAN CARL LOWMASTER,

                           Defendant.



                                INDICTMENT

      THE GRAND JURY CHARGES:

                                        COUNT 1

              POSSESSION OF A FIREARM IN BY A PROHIBITED PERSON
                               [18 U.S.C. § 922(g)(1)]

      On or about July 24, 2021, in the District of Kansas, the defendant,

                           RYAN CARL LOWMASTER,

knowing that he had been convicted of a crime punishable by imprisonment for a term

exceeding one year, did knowingly possess in and affecting commerce any firearm, to wit:

a Walther, Model P22, .22 caliber pistol with serial number Z030572; a Ruger, Model

10/22, .22 caliber rifle with serial number 001278843; and a Smith & Wesson, Model M&P




                                            1
            Case 6:22-cr-10012-EFM Document 1 Filed 03/22/22 Page 2 of 4




15, .22 caliber rifle with serial number TN95861; said firearms having been shipped and

transported in interstate commerce.

       In violation of Title 18, United States Code, Sections 922(g)(1) and 924(a)(2).



                                FORFEITURE NOTICE

       1.      The allegations contained in Count 1 of this Indictment are hereby realleged

and incorporated by reference for the purpose of alleging forfeiture pursuant to Title 18,

United States Code, Section 924(d) and Title 28, United States Code, Section 2461(c).

                         Firearms and Ammunition Forfeiture

       2.      Upon conviction of one or more of the offenses set forth in Count 1 of this

Indictment, the defendant, shall forfeit to the United States pursuant to Title 18, United

States Code, Section 924(d), and Title 28, United States Code, Section 2461(c), any

firearms and ammunition used or involved in the commission of the offense, including, but

not limited to:

               A.    a Walther, Model P22, .22 caliber pistol with serial number
                     Z030572;

               B.    a Ruger, Model 10/22, .22 caliber rifle with serial number
                     001278843;

               C.    a Smith & Wesson, Model M&P 15, .22 caliber rifle with serial
                     number TN95861; and

               D.    ammunition.

       All pursuant to Title 18, United States Code, Section 924(d), and Title 28, United

States Code, Section 2461(c).


                                             2
         Case 6:22-cr-10012-EFM Document 1 Filed 03/22/22 Page 3 of 4




                                    A TRUE BILL.


March 22, 2022                      s/Foreperson                x
DATE                                FOREPERSON OF THE GRAND JURY


DUSTON J. SLINKARD
UNITED STATES ATTORNEY


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       IT IS REQUESTED THAT THE TRIAL BE HELD IN WICHITA, KANSAS




                                      3
        Case 6:22-cr-10012-EFM Document 1 Filed 03/22/22 Page 4 of 4




                                   PENALTIES


Count 1 – Felon in Possession of a Firearm

   • Punishable by a term of imprisonment of not more than ten (10) years. 18 U.S.C.
     § 924(a)(2).

   • A term of supervised release of not more than three (3) years. 18 U.S.C. §
     3583(b)(2).

   • A fine not to exceed $250,000. 18 U.S.C. § 3571(b)(3).

   • A mandatory special assessment of $100.00. 18 U.S.C. § 3013(a)(2)(A).

   • Forfeiture.




                                          4
